              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:13-cr-00025-MR-DLH-2


UNITED STATES OF AMERICA         )
                                 )
                                 )
                   vs.           )                    ORDER
                                 )
                                 )
CRISTIAN NEVAREZ BELTRAN.        )
                                 )
________________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Count Two of the Bill of Indictment as to Defendant Cristian

Nevarez Beltran [Doc. 80].

     For the reasons stated in the Government’s motion, and for cause

shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 80] is GRANTED, and Count Two of the Bill of Indictment is

hereby DISMISSED as to Defendant Beltran.

     IT IS SO ORDERED.
                                Signed: May 7, 2014




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